     Case 3:19-cv-00764-X Document 267 Filed 01/29/20                 Page 1 of 9 PageID 9481



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

VEROBLUE FARMS USA, INC.,                           §
  Plaintiff,                                        §
                                                    §
 v.                                                 §
                                                             Civil Action No. 3:19-CV-00764-X
                                                    §
LESLIE A. WULF, ET AL.,                             §
   Defendants.                                      §
                                                    §

      THIRD-PARTY DEFENDANT ALDER AQUA, LTD.’S REPLY IN SUPPORT OF
           MOTION TO STRIKE AMENDED THIRD-PARTY COMPLAINT

         Third-Party Defendant Alder Aqua, Ltd. (“Alder Aqua”) replies to Defendants/Third-

Party Plaintiffs (“Promoters”) Response and Brief, Dkt. 252 (“Response”), and states:

I.       Promoters’ third-party claims are not based on VBF’s claims.

         Impleader is permitted “only in cases where the third party’s liability was in some way

derivative of the outcome of the main claim.” United States v. Joe Grasso & Son, Inc., 380 F.2d

749, 751 (5th Cir. 1967). Thus, for Defendant Promoters to properly state a third-party claim

under Rule 14(a), they must attempt to “pass on to” Third-Party Defendant Alder Aqua all or

part of the liability that Plaintiff VBF seeks to recover against them. Id. But Promoters’ third-

party claims do the opposite. In fact, the Response acknowledges, perhaps unwittingly, that

Promotors’ claims against Alder Aqua can succeed only if VBF’s claims against Promoters fail:

         [I]f VBF succeeds in rescinding or otherwise voiding its Employment,
         Termination and Separation Agreements with Founders, then Founders’ claims
         disappear. As Alder, Thelander, and McCowan have argued in their Motions to
         Dismiss, if there is no contract, then there can be no claim for tortious interference
         or breach.

Response, Dkt. 252 at p. 9 (emphasis added). In a proper third-party claim, the plaintiff’s success

against the defendant is what gives rise to the defendant’s right against the third-party defendant,
    Case 3:19-cv-00764-X Document 267 Filed 01/29/20                    Page 2 of 9 PageID 9482



and when that happens, the third-party defendant is liable over to the defendant for the plaintiff’s

recovery. The Fifth Circuit has made this rule abundantly clear:

        The question whether a defendant's demand presents an appropriate occasion for
        the use of impleader or else constitutes a separate claim has been resolved
        consistently by permitting impleader only in cases where the third party's liability
        was in some way derivative of the outcome of the main claim. In most such cases
        it has been held that for impleader to be available the third party defendant
        must be "liable secondarily to the original defendant in the event that the
        latter is held liable to the plaintiff." Stating the same principle in different
        words, other authorities declare that the third party must necessarily be liable
        over to the defendant for all or part of the plaintiff's recovery, or that the
        defendant must attempt to pass on to the third party all or part of the liability
        asserted against the defendant.

Joe Grasso & Son, Inc., 380 F.2d at 751 (emphasis added). This requirement is fatal to

Promoters’ “third-party” claim. “The crucial characteristic of a Rule 14 claim is that defendant is

attempting to transfer to the third-party defendant the liability asserted against [him] by the

original plaintiff.” Am. First Lloyd's Ins. Co. v. Glob. Experience Specialists, Inc., 3:13-CV-

0534-D, 2013 U.S. Dist. LEXIS 165302, *10 (N.D. Tex. Nov. 21, 2013) (quoting 6 Charles

Alan Wright, et al., Federal Practice and Procedure § 1446 (3d ed.)). But here, Promoters are not

seeking to transfer to Alder Aqua any of the liability VBF asserted against them. Instead,

Promoters have tied themselves in a knot. They concede that if VBF prevails against them, then

Alder Aqua will not be liable over to Promoters for VBF’s recovery, and their claims

“disappear.” That is the opposite of derivative liability under Rule 14. 1




1
         Promoters contend their tortious interference claims (Dkt. 186 Counts I-IV) are derivative of only
VBF’s claims for rescission, declaratory judgment, and restitution (Dkt. 159, Counts XIV-XIX).
Response, Dkt. 252 at pp. 7-8 (chart of purportedly derivative claims). If VBF prevails on these claims
there will be a finding that Promoters breached their fiduciary duties, defrauded and/or concealed material
information from VBF when they entered into the agreements. With such a finding against Promoters,
they would have no basis to recover on their claims. Promoters do not (and cannot) contend their “third-
party claims” are derivative of any other VBF claims. And Promoters do not (and cannot) contend their
alter ego contract claims are derivative. Id.

ALDER AQUA, LTD.’S REPLY IN SUPPORT OF
MOTION TO STRIKE AMENDED THIRD-PARTY COMPLAINT                                                     PAGE 2
    Case 3:19-cv-00764-X Document 267 Filed 01/29/20               Page 3 of 9 PageID 9483



        When faced with this same situation, the court dismissed with prejudice improper third-

party claims under Rule 14(a). See American Express Travel Related Services, Co. v. Beaumont,

No. CIV. A. 3:01-CV-1869R, 2002 U.S. Dist. LEXIS 18070 (N.D. Tex. Oct. 9, 2002). American

Express sued the cardholder defendant for not paying his credit card bill. Id. at *3. The

cardholder defendant then asserted a third-party claim against the vendor, claiming it had made

an unauthorized charge to the credit card. Id. The court dismissed the third-party claim with

prejudice because there was no possibility of secondary liability by the very nature of plaintiff

American Express’s action. Id. at **7-8. A favorable liability finding for American Express as

plaintiff required its proving the charges were authorized, and if it did so, then the cardholder’s

“third-party” claim against the vendor for unauthorized charges would necessarily fail. Id. The

same can be said for Promoters’ claims here (and in fact Promoters say it themselves in their

Response as quoted above): if VBF (i.e., American Express) succeeds on its contract rescission

actions against Promoters (i.e., the cardholder), then Promoters’ claims against Alder Aqua (i.e.,

the vendor) for breach of contract or tortious interference necessarily fail. Thus, Promoters’

claims are not derivative, and like the cardholder’s claims in American Express, they should be

dismissed with prejudice. 2

II.     That Promoters’ third-party claims allegedly arise from the same set of facts does
        not make them proper under Rule 14.

        Promoters argue their Amended Third-Party Complaint “arises from the same set of facts

and legal claims as the Second Amended Complaint.” Response, Dkt. 252 at p. 1. “The mere

fact that the alleged third-party claim arises from the same transaction or set of facts as the

original claim is not enough” to make a third-party claim derivative for purposes of Rule 14. Am.


2
       Promoters fail to respond to Alder Aqua’s American Express argument which it raised in its
Motion to Strike. Dkt. 224 at p. 10.

ALDER AQUA, LTD.’S REPLY IN SUPPORT OF
MOTION TO STRIKE AMENDED THIRD-PARTY COMPLAINT                                              PAGE 3
  Case 3:19-cv-00764-X Document 267 Filed 01/29/20                    Page 4 of 9 PageID 9484



First Lloyd’s, 2013 U.S. Dist. LEXIS 165302 at *10 (quoting 6 Wright & Miller § 1446).

Under Rule 14, the “claim against the third-party must be based upon plaintiff’s claim against

defendant.” 6 Wright & Miller § 1446 (emphasis added). If the claim is an entirely separate and

independent action, impleader will be denied, even where it arises out of the same general facts

as the main claim. Joe Grasso & Son, Inc., 380 F.2d at 751; see also Cortis, Inc. v. Cortislim

Int'l, Inc., 3:12-CV-00562-P, 2014 WL 12577398, at *3 (N.D. Tex. Mar. 24, 2014) (“Though the

claims against the Graziano Parties clearly arise out of the same general facts as Plaintiff’s

claims, that the underlying facts are similar is insufficient to establish that impleader is proper.”).

       Here, Promoters’ so-called “third-party” claims against Alder Aqua are not based upon

VBF’s claims for rescission, declaratory judgment and restitution against Promoters (or any

other VBF claims). Promoters’ claims are separate and independent, and the fact that they may

arise out of the same general facts as VBF’s claims is immaterial. See id. Promoters’ third-party

claims for tortious interference with, and alter ego breach of, the Termination, Separation, and

Employment Agreements are separate and independent causes of action from any liability VBF

may put on them. As a result those actions are not proper third-party claims under Rule 14

simply because they allegedly may arise from the same general facts.

       Another case in Alder Aqua’s Motion to Strike that Promoters ignore is Cambridge

Strategies, LLC v. Cook, No. 3:10-CV-2167-L, 2012 U.S. Dist. LEXIS 7367 at *2-5 (N.D. Tex.

Jan. 23, 2012). Dkt. 224 at p. 7. The facts in that case are clearly similar to the facts here.

Cambridge Strategies sued Cambridge Group, the company whose assets Strategies purchased,

and Cook, Strategies’ former employee and Group’s former owner. Cambridge Strategies, LLC,

2012 U.S. Dist. LEXIS 7367 at *2-3. Strategies (like VBF here) asserted breach of fiduciary and

misappropriation claims against defendants Cook and Group. Id. Those two defendants (like



ALDER AQUA, LTD.’S REPLY IN SUPPORT OF
MOTION TO STRIKE AMENDED THIRD-PARTY COMPLAINT                                                  PAGE 4
    Case 3:19-cv-00764-X Document 267 Filed 01/29/20                   Page 5 of 9 PageID 9485



Promoters here) filed tortious interference and other claims against third parties who were

affiliates or officers of the plaintiff Strategies. Id. at *4. Judge Lindsay analyzed “the nature of

the underlying claims” and dismissed the third-party claims because they were not derivative of

the plaintiff’s action even if they arose from the same facts:

        The flaw in Defendants’ argument is that Cook's obligations to Cambridge
        Strategies under the employment agreement are not dependent on Third Party
        Defendants' alleged tortious misconduct. Simply put, Third Party Defendants
        cannot be secondarily liable for Cook’s alleged breach of the employment
        agreement or breach of loyalty and fiduciary duty to Cambridge Strategies, even
        if Cambridge Strategies had no cause of action against Cook and Cambridge
        Group absent Third Party Defendant's actions. Consequently, Defendants' third
        party claims do not emanate from the main claims but exist wholly independent of
        them. Even if the third party claims arise out of the same general set of facts as
        Cambridge Strategies claims against Defendants, this is not a proper basis for
        impleader under Rule 14. That Defendants have couched their third party claims
        in terms of contribution and indemnity does not change the nature of the
        underlying claims or the result under Rule 14.

Id. at **18-20 (citations omitted). Likewise, Promoters’ fiduciary obligations to VBF are not in

any way dependent on Alder Aqua’s (or the other Third Party Defendants’) alleged tortious

misconduct. Alder Aqua cannot be secondarily liable for Promoters’ fiduciary breaches or any

other claims asserted by VBF against Promoters, even if the claims arise out of the same general

set of facts. 3

III.    Rule 14’s third-party procedure is not a vehicle for trying independent causes of
        action together.

        Promoters argue they should be allowed to pursue their third-party claims because it

would be “inefficient” to require them to sue the third-party defendants in a separate lawsuit.

Response, Dkt. 252 at p. 13 n.1. That Promoters would be required to file a new lawsuit is




3
         There are many other cases in the Motion to Strike that Promoters ignore. That is not surprising
as the great weight of authority on this issue rests squarely against them.

ALDER AQUA, LTD.’S REPLY IN SUPPORT OF
MOTION TO STRIKE AMENDED THIRD-PARTY COMPLAINT                                                   PAGE 5
  Case 3:19-cv-00764-X Document 267 Filed 01/29/20                  Page 6 of 9 PageID 9486



immaterial to whether their third-party claims are proper under Rule 14. As the Fifth Circuit has

explained:

       The third-party procedure is not designed as a vehicle for the trying together of
       separate and distinct causes of action, or for the introduction, into the main action,
       of several parallel, but independent, actions, or separate and independent claims,
       or for changing the cause of action as asserted, or substituting another action for
       it, and is not a device for bringing into an action any controversy which may have
       some relation to it.

Majors v. Am. Nat. Bank of Huntsville, 426 F.2d 566, 568 (5th Cir. 1970) (per curiam) (citation

and quotation marks omitted); Wells Fargo Bank, N.A. v. Pettus, 3:11-CV-0095-D, 2011 WL

3586405, at *2 (N.D. Tex. Aug. 16, 2011) (same). The Fifth Circuit has dismissed those claims

irrespective of whether it made litigation less efficient:

       While we recognize that allowing impleader of the captains would expedite
       administratively the entire controversy, the government still has failed to show
       that the tax liability necessarily will fall upon either Grasso or the captains. The
       third party complaint against the captains is a separate claim for taxes, and as such
       must be denied.

Joe Grasso & Son, 380 F.2d at 752 (citations omitted). This Court should do the same and strike

the Amended Third-Party Complaint.

IV.    Promoters cannot rely on third-party claims they have not alleged.

       The Response suggests that if VBF’s claims against Promoters proceed, then Promoters

plan to defend by asserting Alder Aqua was aware of and approved the complained of actions by

Promoters. Response, Dkt. 252 at p. 2. “Ergo, if [Promoters] are found liable for any of the

actions alleged in the Second Amended Complaint, Thelander, McCowan and Alder would

similarly be liable as the parties approving [Promoters’] actions.” Id. Setting aside the circular

nature of this unpleaded “defense,” Promoters never explain how this could possibly be true, and

based on their plead causes of action, it could not be true. There are no claims in the Amended

Third-Party Complaint that seek to hold Alder Aqua liable for approving Promoters’ fraudulent


ALDER AQUA, LTD.’S REPLY IN SUPPORT OF
MOTION TO STRIKE AMENDED THIRD-PARTY COMPLAINT                                                  PAGE 6
  Case 3:19-cv-00764-X Document 267 Filed 01/29/20                 Page 7 of 9 PageID 9487



actions. In fact, Promoters conclude their Response by conceding they have not plead any such

claims, arguing that the Court should sit on the Motion to Strike and allow them to conduct

discovery so that they then eventually, hopefully, maybe will “be in a position to properly allege

facts that pass along all or part of any liability asserted by VBF to Third-Party Defendants.” Dkt.

252 at p. 13. If that position were not already farcical enough, Promoters next suggest their

claims “lack the obvious connection between VBF’s claims against [Promoters] and

[Promoters’] claims against Third-Party Defendants,” because of an alleged lack of specificity in

VBF’s Second Amended Complaint. Id.

        The Court need not entertain Promoters' pleading excuses and should simply accept their

Rule 14 surrender (made twice on the same page) that they have not “properly alleg[ed] facts”

that would establish Alder Aqua’s liability as a proper third-party defendant. Response, Dkt. 252

at p. 13. Promoters will never be able to properly allege such facts because there is no possibility

of secondary liability based on the nature of the claims asserted. Am. Express Travel, 2002 U.S.

Dist. LEXIS 18070, at *7. The Amended Third-Party Complaint should be stricken.

V.      Conclusion

        Third-Party Defendant Alder Aqua respectfully requests that the Court grant its Motion to

Strike, Dkt. 224; strike the Amended Third-Party Complaint, Dkt. 186; dismiss the claims

asserted against Alder Aqua with prejudice; and grant it such other and further relief to which it

is entitled.




ALDER AQUA, LTD.’S REPLY IN SUPPORT OF
MOTION TO STRIKE AMENDED THIRD-PARTY COMPLAINT                                               PAGE 7
 Case 3:19-cv-00764-X Document 267 Filed 01/29/20          Page 8 of 9 PageID 9488



      Dated: January 29, 2020.

                                      Respectfully submitted,

                                      By:    /s/ John P. Kincade
                                            John P. Kincade, Esq.       SB# 11429600

                                      2728 N. Harwood Street
                                      Suite 500
                                      Dallas, Texas 75201
                                      (214) 745-5400
                                      (214) 745-5390 (Fax)
                                      Email: jkincade@winstead.com

                                      Elliot Clark
                                      Texas Bar No. 24012428
                                      eclark@winstead.com
                                      WINSTEAD PC
                                      401 Congress Avenue, Suite 2100
                                      Austin, Texas 78701-3619
                                      512-370-2800
                                      512-370-2850 (Facsimile)

                                      Kevin T. Keen
                                      Texas Bar No. 24113386
                                      kkeen@winstead.com
                                      WINSTEAD PC
                                      24 Waterway Avenue
                                      Suite 500
                                      The Woodlands, Texas 77380
                                      (281) 681-5900
                                      (281) 681-5901 (facsimile)

                                      ATTORNEYS FOR THIRD-PARTY
                                      DEFENDANT, ALDER AQUA, LTD.




ALDER AQUA, LTD.’S REPLY IN SUPPORT OF
MOTION TO STRIKE AMENDED THIRD-PARTY COMPLAINT                                PAGE 8
  Case 3:19-cv-00764-X Document 267 Filed 01/29/20               Page 9 of 9 PageID 9489



                              CERTIFICATE OF SERVICE

      I certify that on January 29, 2020, this document was filed and served via the Court’s
ECF system and that a copy was sent via electronic mail to all counsel of record for whom the
ECF system did not send an automatic Notice of Electronic Filing.


                                           /s/ John P. Kincade
                                          One of Counsel




ALDER AQUA, LTD.’S REPLY IN SUPPORT OF
MOTION TO STRIKE AMENDED THIRD-PARTY COMPLAINT                                        PAGE 9
4850-0657-7843v.3
